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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE


                 In re:                                                        Chapter 11

                 YELLOW CORPORATION, et al.,1                                  Case No. 23-11069 (CTG)

                                                  Debtors.                     (Jointly Administered)

                                                                               Related D.I.: 852, 855, 856, 973, 981



                    SECOND SUPPLEMENTAL DECLARATION OF DISINTERESTEDNESS OF
                 RITCHIE BROS. AUCTIONEERS (AMERICA) INC., IRONPLANET, INC., RITCHIE
                   BROS. AUCTIONEERS (CANADA) LTD., AND IRONPLANET CANADA LTD. IN
                 SUPPORT OF MOTION OF DEBTORS FOR ENTRY OF AN ORDER (I) APPROVING
                   THE AGENCY AGREEMENT WITH NATIONS CAPITAL LLC, RITCHIE BROS.
                     AUCTIONEERS (AMERICA), INC., IRONPLANET, INC., RITCHIE BROS.
                  AUCTIONEERS (CANADA) LTD., AND IRONPLANET CANADA LTD. EFFECTIVE
                  AS OF OCTOBER 16, 2023; (II) AUTHORIZING THE SALE OF ROLLING STOCK
                        ASSETS FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS AND
                          ENCUMBRANCES; AND (III) GRANTING RELATED RELIEF

             I, Jake Lawson, declare under penalty of perjury:

                          1.     I am the President - North America Sales of Ritchie Bros. Auctioneers (America)

             Inc., IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd., and IronPlanet Canada Ltd.

             (collectively, the “RB Group”) and am duly authorized to execute this second supplemental

             declaration (the “Second Supplemental Declaration”) on behalf of the RB Group.

                          2.     On October 16, 2023, the Debtors filed the Motion of Debtors for Entry of an Order

             (I) Approving the Agency Agreement with Nations Capital, LLC, Ritchie Bros. Auctioneers

             (America), Inc., IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd., and IronPlanet Canada

             Ltd. Effective as of October 16, 2023; (II) Authorizing the Sale of Rolling Stock Assets Free of


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                   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
                   claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
                   of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
                   Overland Park, Kansas 66211.


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             Liens, Claims, Interests and Encumbrances; and (III) Granting Related Relief [Docket No. 853]

             (the “Application”), which the Court2 approved on October 27, 2023 [Docket No. 981] (the

             “Order”).

                       3.     As part of the Application, the Debtors filed the Declaration of Disinterestedness

             of Nations Capital, LLC, Ritchie Bros. Auctioneers (America), Inc., IronPlanet, Inc., Ritchie Bros.

             Auctioneers (Canada) Ltd., and IronPlanet Canada Ltd. [Docket No. 856] (the “Original

             Declaration”), in which the Agent provided certain disclosures regarding its connections with

             various parties in interest involved in these chapter 11 cases.

                       4.     In response to a request from the United States Trustee (the “U.S. Trustee”) for

             additional disclosures, on October 27, 2023, the Debtors submitted a Supplemental Declaration of

             Ritchie Bros. Auctioneers (America), Inc., IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada)

             Ltd., and IronPlanet Canada Ltd. in Support of the Application for Entry of an Order (I) Approving

             the Agency Agreement with Nations Capital, LLC, Ritchie Bros. Auctioneers (America), Inc.,

             IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd., and IronPlanet Canada Ltd. Effective

             as of October 16, 2023; (II) Authorizing the Sale of Rolling Stock Assets Free of Liens, Claims,

             Interests and Encumbrances; and (III) Granting Related Relief [Docket No. 973] (the

             “Supplemental Declaration”).

                       5.     The RB Group is submitting this Second Supplemental Declaration to provide

             additional information regarding the RB Group’s connections with Potential Parties in Interest.




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                  Capitalized terms not otherwise defined herein are defined as in the Application or Supplemental Declaration
                  (each as defined herein), as applicable.



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                                           The RB Group’s Connections Check Process

                       6.     In the ordinary course of business, the RB Group maintains a database with

             information regarding all of its present and past representations and transactions. I obtained the

             Potential Parties in Interest list from the Debtors to determine whether the RB Group has any

             material relationships with the identified parties and whether any such connections are adverse to

             the Debtors or their estates. Based on the results of the connections search, neither I nor the RB

             Group, nor any member or employee thereof, insofar as I have been able to ascertain, has any

             connection with the Debtors, their creditors, other parties in interest (as reasonably known to us),

             their respective attorneys, the Court or U.S. Trustee or any person employed by the Court or U.S.

             Trustee, except as disclosed on Schedule 2 of the Original Declaration, Schedule 1 to the

             Supplemental Declaration, and Schedule 1 hereto.

                       7.     The RB Group may have previously, is currently, and may in the future appear or

             participate in cases, proceedings, transactions and engagements with, for or adverse to, among

             other market participants, professionals, advisors, banks and other lenders, restructuring firms,

             vendors, insurance carriers and brokers, operating companies, and equity and/or debt holders, each

             of whom may be involved in these chapter 11 cases (“Ordinary Course Interactions”). Except as

             disclosed herein, none of the Ordinary Course Interactions are matters directly connected or

             relating to the Debtors or these chapter 11 cases, and none is believed to be indirectly connected

             or relating to the Debtors or these chapter 11 cases. The RB Group does not believe that any of

             the Ordinary Course Interactions will conflict or interfere with or influence or impair the RB

             Group’s activities, responsibilities, or objectives as Agent in these chapter 11 cases.

                       8.     Without limiting the generality of the foregoing paragraph, it is possible that one or

             more law firms, audit firms or consulting firms engaged by the Debtors or other Potential Parties


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             in Interest, including Hogan Lovells LLP, Norton Rose LLP, Dentons LLP, KPMG and Baker

             Tilly, have previously or are currently representing the RB Group in matters unrelated to the

             Debtors or these chapter 11 cases, and that such representations are not necessarily reflected in the

             RB Group’s database for purposes of performing “conflicts checks.” Except as may be disclosed

             herein, any such law firm’s, audit firm’s, or consulting firm’s representation of the RB Group is

             unrelated to the Debtors and these chapter 11 cases.

                       9.     The disclosures identified herein are based upon my knowledge and belief after

             reasonable inquiry by (and discussion with) RB Group personnel. If, at some point during the

             Debtors’ chapter 11 cases, the RB Group engages in a transaction involving a Potential Party in

             Interest or discovers any additional material facts bearing on the matters described herein, the RB

             Group will submit a supplemental disclosure to the Court.

                       10.    For the reasons set forth in the Original Declaration, the Supplemental Declaration,

             and this Second Supplemental Declaration, I believe that the RB Group (a) is a disinterested person

             as defined in the Bankruptcy Code and (b) does not hold or represent any interest adverse to the

             Debtors’ estates.

                       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

             and correct.



                                                    [Signature page follows]




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             Date: November 29, 2023

             RITCHIE BROS. AUCTIONEERS (AMERICA) INC.
             IRONPLANET, INC.
             RITCHIE BROS. AUCTIONEERS (CANADA) LTD.
             IRONPLANET CANADA, LTD.


                             _____________
             By: Jake Lawson
             Title: Authorized Signatory




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